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16
                               UNITED STATES DISTRICT COURT
17
                          CENTRAL DISTRICT OF CALIFORNIA
18
19
     LOS ANGELES WATERKEEPER, a              Case No. ________________________
     non-profit corporation,
20
21                Plaintiff,                 COMPLAINT FOR DECLARATORY
                                             AND INJUNCTIVE RELIEF AND
22          vs.                              CIVIL PENALTIES
23
     CITY FIBERS, INC., a corporation,
24
                                             (Federal Water Pollution Control Act,
25                Defendant.                 33 U.S.C. §§ 1251 to 1387)
26
27
     COMPLAINT
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 1
           LOS ANGELES WATERKEEPER (“Waterkeeper”), a California non-profit
 2
 3
     corporation, by and through its counsel, hereby alleges:

 4   I.    JURISDICTION AND VENUE

 5         1.     This is a civil suit brought under the citizen suit enforcement provisions
 6   of the Federal Water Pollution Control Act, 33 U.S.C. § 1251, et seq. (the “Clean
 7   Water Act” or “the Act”). This Court has subject matter jurisdiction over the parties
 8   and the subject matter of this action pursuant to Section 505(a)(1)(A) of the Act, 33
 9   U.S.C. § 1365(a)(1)(A), and 28 U.S.C. § 1331 (an action arising under the laws of the
10   United States). The relief requested is authorized pursuant to 28 U.S.C. §§ 2201-02
11   (power to issue declaratory relief in case of actual controversy and further necessary
12   relief based on such a declaration); 33 U.S.C. §§ 1319(b), 1365(a) (injunctive relief);
13   and 33 U.S.C. §§ 1319(d), 1365(a) (civil penalties).
14         2.     On May 31, 2017, Plaintiff provided notice of Defendant’s violations of
15   the Act, and of Plaintiff’s intention to file suit against Defendant, to the Administrator
16   of the United States Environmental Protection Agency (“EPA”); the Administrator of
17   EPA Region IX; the Executive Director of the State Water Resources Control Board
18
     (“State Board”); the Executive Officer of the California Regional Water Quality
19
     Control Board, Los Angeles Region (“Regional Board”); and to Defendant, as
20
     required by the Act, 33 U.S.C. § 1365(b)(1)(A). A true and correct copy of
21
     Waterkeeper’s notice letter is attached as Exhibit A, and is incorporated by reference.
22
           3.     More than sixty days have passed since notice was served on Defendant
23
     and the State and federal agencies. Plaintiff is informed and believes, and thereupon
24
     alleges, that neither the EPA nor the State of California has commenced or is
25
     diligently prosecuting a court action to redress the violations alleged in this complaint.
26
     This action’s claim for civil penalties is not barred by any prior administrative penalty
27
     COMPLAINT
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 1   under Section 309(g) of the Act, 33 U.S.C. § 1319(g).
 2          4.     Venue is proper in the Central District of California pursuant to Section
 3   505(c)(1) of the Act, 33 U.S.C. § 1365(c)(1), because the source of the violations is
 4   located within this judicial district.
 5   II.    INTRODUCTION
 6          5.     This complaint seeks relief for Defendant’s discharges of polluted storm
 7   water from Defendant’s industrial facilities located at the following addresses: 2500 S.
 8   Santa Fe Avenue in Los Angeles, California (“Los Angeles Plant”); 3033 East
 9
     Washington Blvd. in Los Angeles, California (“East Washington Plant”); 2211 East
10
     Washington Blvd. in Los Angeles, California (“West Washington Plant”); and 16714
11
     Schoenborn Street in North Hills, California (“West Valley Plant”). These discharges
12
     are in violation of the Act and National Pollutant Discharge Elimination System
13
     (“NPDES”) Permit No. CAS000001, State Water Resources Control Board Water
14
     Quality Order No. 97-03-DWQ (“1997 Permit”), as renewed by Water Quality Order
15
     No. 2014-0057-DWQ (“2015 Permit”) (the permits are collectively referred to
16
     hereinafter as the “Permit” or “General Permit”). Defendant’s violations of the
17
     discharge, treatment technology, monitoring requirements, and other procedural and
18
     substantive requirements of the Permit and the Act are ongoing and continuous.
19
            6.     With every significant rainfall event, millions of gallons of polluted
20
     storm water originating from industrial operations, such as those conducted by
21
22
     Defendant, pour into storm drains and local waterways. The consensus among

23   agencies and water quality specialists is that storm water pollution accounts for more

24   than half of the total pollution entering surface waters each year.
25          7.     Los Angeles area waters are ecologically sensitive areas and are essential
26   habitat for dozens of fish and bird species as well as macro-invertebrate and
27   invertebrate species. Storm water and non-storm water contaminated with sediment,
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 1   heavy metals, and other pollutants harm the special aesthetic and recreational
 2   significance that Los Angeles area waters have for people in the surrounding
 3   communities. The public’s use of Los Angeles area waters for water contact sports
 4   exposes many people to toxic metals and other contaminants in storm water and non-
 5   storm water discharges. Non-contact recreation and aesthetic opportunities, such as
 6   wildlife observation are also impaired by polluted discharges into Los Angeles area
 7   waters.
 8          8.    Industrial facilities, like Defendant’s, that are discharging polluted storm
 9
     water and non-storm water contribute to the impairment of downstream waters and
10
     aquatic-dependent wildlife. These contaminated discharges can and must be
11
     controlled for the ecosystem to regain its health.
12
     III.   PARTIES
13
            9.    Plaintiff Waterkeeper is a non-profit public benefit corporation organized
14
     under the laws of the State of California with its main office in Santa Monica,
15
     California. Founded in 1993, Waterkeeper is dedicated to the preservation, protection,
16
     and defense of the inland and coastal surface and groundwaters of Los Angeles County
17
     from all sources of pollution and degradation. Waterkeeper and its approximately
18
     3,000 members are deeply concerned with protecting the environment in and around
19
     their communities, including the Los Angeles River Watershed. To further these goals,
20
     Waterkeeper actively seeks federal and state agency implementation of the Act and
21
22
     other laws and, where necessary, directly initiates enforcement actions on behalf of

23   itself and its members.

24          10.   Waterkeeper has members living in the communities adjacent to the Los
25   Angeles Plant, the East Washington Plant, the West Washington Plant, the West Valley
26   Plant, and the Los Angeles River Watershed. They enjoy using the Los Angeles River
27   and Bull Creek for recreation and other activities. Members of Waterkeeper use and
     COMPLAINT
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 1   enjoy the waters into which Defendant has caused, is causing, and will continue to
 2   cause, pollutants to be discharged. Members of Waterkeeper use those areas to recreate
 3   and view wildlife, among other activities. Defendant’s discharges of pollutants threaten
 4   or impair each of those uses or contribute to such threats and impairments. Thus, the
 5   interests of Waterkeeper’s members have been, are being, and will continue to be
 6   adversely affected by Defendant’s failure to comply with the Clean Water Act and the
 7   Permit. The relief sought herein will redress the harms to Plaintiff caused by
 8   Defendant’s activities.
 9
           11.    Waterkeeper brings this action on behalf of its members. Waterkeeper’s
10
     interest in reducing Defendant’s discharges of pollutants into the Los Angeles River
11
     and its tributaries and requiring Defendant to comply with the requirements of the
12
     General Permit are germane to its purposes. Litigation of the claims asserted and
13
     relief requested in this Complaint does not require the participation in this lawsuit of
14
     individual members of Waterkeeper.
15
           12.    Continuing commission of the acts and omissions alleged above will
16
     irreparably harm Plaintiff and one or more of its members, for which harm they have no
17
     plain, speedy or adequate remedy at law.
18
           13.    Defendant CITY FIBERS, INC. (“City Fibers”) is a corporation that
19
     owns and/or operates the Los Angeles Plant, the East Washington Plant, the West
20
     Washington Plant, and the West Valley Plant.
21
22
     IV.   STATUTORY BACKGROUND

23         Clean Water Act

24         14.    Section 301(a) of the Act, 33 U.S.C. § 1311(a), prohibits the discharge of
25   any pollutant into waters of the United States, unless such discharge is in compliance
26   with various enumerated sections of the Act. Among other things, Section 301(a)
27   prohibits discharges not authorized by, or in violation of, the terms of an NPDES
     COMPLAINT
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 1   permit issued pursuant to Section 402 of the Act, 33 U.S.C. § 1342.
 2         15.    Section 402(p) of the Act establishes a framework for regulating
 3   municipal and industrial storm water discharges under the NPDES program. 33
 4   U.S.C. § 1342(p). States with approved NPDES permit programs are authorized by
 5   Section 402(p) to regulate industrial storm water discharges through individual
 6   permits issued to dischargers or through the issuance of a single, statewide general
 7   permit applicable to all industrial storm water dischargers. 33 U.S.C. § 1342(p).
 8         16.    The EPA promulgated regulations for the Section 402 NPDES permit
 9
     program defining waters of the United States. See 40 C.F.R. § 122.2. The EPA
10
     interprets waters of the United States to include not only traditionally navigable
11
     waters but also other waters, including waters tributary to navigable waters, wetlands
12
     adjacent to navigable waters, and other waters including intermittent streams that
13
     could affect interstate commerce. The Act requires any person who discharges or
14
     proposes to discharge pollutants into waters of the United States to submit an NPDES
15
     permit application. 40 C.F.R. § 122.21.
16
           17.    A significant nexus is also established if waters that are tributary to
17
     navigable waters have flood control properties, including functions such as the
18
     reduction of flow, pollutant trapping, and nutrient recycling. Id. at 783.
19
           18.    Pursuant to Section 402 of the Act, 33 U.S.C. § 1342, the Administrator
20
     of the U.S. EPA has authorized California’s State Board to issue NPDES permits
21
22
     including general NPDES permits in California.

23         General Permit

24         19.    The State Board elected to issue a statewide general permit for industrial
25   storm water discharges. The State Board originally issued the General Permit on or
26   about November 19, 1991. The State Board modified the General Permit on or about
27   September 17, 1992. Pertinent to this action, the State Board reissued the General
     COMPLAINT
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 1   Permit on or about April 17, 1997 (the “1997 Permit”), and again on or about April 1,
 2   2014 (the “2015 Permit”), pursuant to Section 402(p) of the Clean Water Act, 33
 3   U.S.C. § 1342(p). The 1997 Permit was in effect between 1997 and June 30, 2015.
 4   The 2015 Permit went into effect on July 1, 2015. The 2015 Permit maintains or
 5   makes more stringent the same requirements as the 1997 Permit.
 6         20.   In order to discharge storm water lawfully in California, industrial
 7   dischargers must comply with the terms of the General Permit or have obtained and
 8   complied with an individual NPDES permit. 33 U.S.C. § 1311(a).
 9
           21.   The General Permit contains several prohibitions. Effluent Limitation
10
     B(3) of the 1997 Permit and Effluent Limitation V(A) of the 2015 Permit require
11
     dischargers to reduce or prevent pollutants in their storm water discharges through
12
     implementation of the Best Available Technology Economically Achievable (“BAT”)
13
     for toxic and nonconventional pollutants and the Best Conventional Pollutant Control
14
     Technology (“BCT”) for conventional pollutants. Discharge Prohibition A(2) of the
15
     1997 Permit and Discharge Prohibition III(C) of the 2015 Permit prohibit storm water
16
     discharges and authorized non-storm water discharges that cause or threaten to cause
17
     pollution, contamination, or nuisance. Receiving Water Limitation C(1) of the 1997
18
     Permit and Receiving Water Limitation VI(B) of the 2015 Permit prohibit storm water
19
     discharges to any surface or ground water that adversely impact human health or the
20
     environment. Receiving Water Limitation C(2) of the 1997 Permit and Receiving
21
22
     Water Limitation VI(A) and Discharge Prohibition III(D) of the 2015 Permit prohibit

23   storm water discharges that cause or contribute to an exceedance of any applicable

24   water quality standards contained in Statewide Water Quality Control Plan or the
25   applicable Regional Board’s Basin Plan.
26         22.   In addition to absolute prohibitions, the General Permit contains a variety
27   of substantive and procedural requirements that dischargers must meet. Facilities
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 1   discharging, or having the potential to discharge, storm water associated with
 2   industrial activity that have not obtained an individual NPDES permit must apply for
 3   coverage under the State’s General Permit by filing a Notice of Intent to Comply
 4   (“NOI”). Dischargers have been required to file NOIs since March 30, 1992.
 5         23.    Dischargers must develop and implement a Storm Water Pollution
 6   Prevention Plan (“SWPPP”). The SWPPP must describe storm water control facilities
 7   and measures that comply with the BAT and BCT standards. For dischargers
 8   beginning industrial activities before October 1, 1992, the General Permit requires
 9
     that an initial SWPPP has been developed and implemented before October 1, 1992.
10
     The objective of the SWPPP requirement is to identify and evaluate sources of
11
     pollutants associated with industrial activities that may affect the quality of storm
12
     water discharges and authorized non-storm water discharges from the facility, and to
13
     implement best management practices (“BMPs”) to reduce or prevent pollutants
14
     associated with industrial activities in storm water discharges and authorized non-
15
     storm water discharges. See 1997 Permit, § A(2); 2015 Permit, § X(C). These BMPs
16
     must achieve compliance with the General Permit’s effluent limitations and receiving
17
     water limitations, including the BAT and BCT technology mandates. To ensure
18
     compliance with the General Permit, the SWPPP must be evaluated and revised as
19
     necessary. 1997 Permit, §§ A(9), (10); 2015 Permit, § X(B). Failure to develop or
20
     implement an adequate SWPPP, or update or revise an existing SWPPP as required, is
21
22
     a violation of the General Permit. 2015 Permit, Fact Sheet § I(1).

23         24.    Sections A(3)-A(10) of the 1997 Permit set forth the requirements for a

24   SWPPP. Among other requirements, the SWPPP must include: a pollution prevention
25   team; a site map; a list of significant materials handled and stored at the site; a
26   description of potential pollutant sources; an assessment of potential pollutant sources;
27   and a description of the BMPs to be implemented at the facility that will reduce or
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 1   prevent pollutants in storm water discharges and authorized non-storm water
 2   discharges, including structural BMPs where non-structural BMPs are not effective.
 3   Sections X(D) – X(I) of the 2015 Permit set forth essentially the same SWPPP
 4   requirements as the 1997 Permit, except that all dischargers are now required to
 5   develop and implement a set of minimum BMPs, as well as any advanced BMPs as
 6   necessary to achieve BAT/BCT, which serve as the basis for compliance with the
 7   2015 Permit’s technology-based effluent limitations and receiving water limitations.
 8   See 2015 Permit, § X(H). The 2015 Permit further requires a more comprehensive
 9
     assessment of potential pollutant sources than the 1997 Permit; more specific BMP
10
     descriptions; and an additional BMP summary table identifying each identified area of
11
     industrial activity, the associated industrial pollutant sources, the industrial pollutants,
12
     and the BMPs being implemented. See 2015 Permit, §§ X(G)(2), (4), (5). Section
13
     X(E) of the 2015 Permit requires that the SWPPP map depict, inter alia, all storm
14
     water discharge locations.
15
           25.    The 2015 Permit requires dischargers to implement and maintain, to the
16
     extent feasible, all of the following minimum BMPs in order to reduce or prevent
17
     pollutants in industrial storm water discharges: good housekeeping, preventive
18
     maintenance, spill and leak prevention and response, material handling and waste
19
     management, erosion and sediment controls, an employee training program, and
20
     quality assurance and record keeping. See 2015 Permit, § X(H)(1). Failure to
21
22
     implement all of these minimum BMPs is a violation of the 2015 Permit. See 2015

23   Permit, Fact Sheet § I(2)(o). The 2015 Permit further requires dischargers to

24   implement and maintain, to the extent feasible, any one or more of the following
25   advanced BMPs necessary to reduce or prevent discharges of pollutants in industrial
26   storm water discharges: exposure minimization BMPs, storm water containment and
27   discharge reduction BMPs, treatment control BMPs, and other advanced BMPs. See
     COMPLAINT
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  1   2015 Permit, § X(H)(2). Failure to implement advanced BMPs as necessary to
  2   achieve compliance with either technology or water quality standards is a violation of
  3   the 2015 Permit. Id. The 2015 Permit also requires that the SWPPP include BMP
  4   descriptions and a BMP Summary Table. See 2015 Permit, § X(H)(4), (5).
  5         26.    The General Permit requires dischargers to develop and implement an
  6   adequate written Monitoring and Reporting Program. The primary objective of the
  7   Monitoring and Reporting Program is to detect and measure the concentrations of
  8   pollutants in a facility’s discharge to ensure compliance with the General Permit’s
  9
      discharge prohibitions, effluent limitations, and receiving water limitations. As part
 10
      of their monitoring program, dischargers must identify all storm water discharge
 11
      locations that produce a significant storm water discharge, evaluate the effectiveness
 12
      of BMPs in reducing pollutant loading, and evaluate whether pollution control
 13
      measures set out in the SWPPP are adequate and properly implemented. The 1997
 14
      Permit required dischargers to collect storm water samples during the first hour of
 15
      discharge from the first storm event of the wet season, and at least one other storm
 16
      event during the wet season, from all storm water discharge locations at a facility. See
 17
      1997 Permit, § B(5). The 2015 Permit now mandates that facility operators sample
 18
      four (rather than two) storm water discharges from all discharge locations over the
 19
      course of the reporting year. See 2015 Permit, §§ XI(B)(2), (3).
 20
            27.    Under the 1997 Permit, facilities must analyze storm water samples for
 21
 22
      “toxic chemicals and other pollutants that are likely to be present in storm water

 23   discharges in significant quantities.” 1997 Permit, § B(5)(c)(ii). Under the 2015

 24   Permit, facilities must analyze storm water samples for “[a]dditional parameters
 25   identified by the Discharger on a facility-specific basis that serve as indicators of the
 26   presence of all industrial pollutants identified in the pollutant source assessment.”
 27   2015 Permit, § XI(B)(6)(c).
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  1         28.    Under the 2015 Permit, a facility must analyze collected samples for
  2   “[a]dditional applicable industrial parameters related to receiving waters with 303(d)
  3   listed impairments or approved TMDLs based on the assessment in Section
  4   X.G.2.a.ix.” 2015 Permit, § XI(B)(6)(d).
  5         29.    Facilities are required to make monthly visual observations of storm
  6   water discharges. The visual observations must represent the quality and quantity of
  7   the facility’s storm water discharges from the storm event. 1997 Permit, § B(7); 2015
  8   Permit, § XI.A.
  9
            30.    Section XI(B)(2) of the 2015 Permit requires that dischargers collect and
 10
      analyze storm water samples from two qualifying storm events (“QSEs”) during the
 11
      first half of each reporting year (July 1 to December 31) and two QSEs during the
 12
      second half of each reporting year (January 1 to June 30).
 13
            31.    Section B(14) of the 1997 Permit requires dischargers to include
 14
      laboratory reports with their Annual Reports submitted to the Regional Board. This
 15
      requirement is continued with the 2015 Permit. Fact Sheet, Paragraph O.
 16
            32.    The 1997 Permit, in relevant part, requires that the Annual Report
 17
      include an Annual Comprehensive Site Compliance Evaluation Report (“ACSCE
 18
      Report”). 1997 Permit, § B(14). As part of the ACSCE Report, the facility operator
 19
      must review and evaluate all of the BMPs to determine whether they are adequate or
 20
      whether SWPPP revisions are needed. The Annual Report must be signed and
 21
 22
      certified by a duly authorized representative, under penalty of law that the information

 23   submitted is true, accurate, and complete to the best of his or her knowledge. The

 24   2015 Permit now requires operators to conduct an Annual Comprehensive Facility
 25   Compliance Evaluation (“Annual Evaluation”) that evaluates the effectiveness of
 26   current BMPs and the need for additional BMPs based on visual observations and
 27   sampling and analysis results. See 2015 Permit, § XV.
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  1           33.   The General Permit does not provide for any mixing zones by
  2   dischargers. The General Permit does not provide for any receiving water dilution
  3   credits to be applied by dischargers.
  4           Basin Plan
  5           34.   The Regional Board has identified beneficial uses and established water
  6   quality standards for the Los Angeles River, including its tributary, Bull Creek, in the
  7   “Water Quality Control Plan, Los Angeles Region Basin Plan for the Coastal
  8   Watersheds of Los Angeles and Ventura Counties,” generally referred to as the Basin
  9
      Plan.
 10
              35.   The beneficial uses of these waters include, among others, municipal and
 11
      domestic supply, groundwater recharge, water contact recreation, non-contact water
 12
      recreation, warm freshwater habitat, wildlife habitat, wetland habitat, marine habitat,
 13
      rare, threatened, or endangered species, preservation of biological habitats, migration
 14
      of aquatic organisms, spawning, reproduction, and/or early development, and shellfish
 15
      harvesting. The non-contact water recreation use is defined as “[u]ses of water for
 16
      recreational activities involving proximity to water, but not normally involving
 17
      contact with water where water ingestion is reasonably possible. These uses include,
 18
      but are not limited to, picnicking, sunbathing, hiking, beachcombing, camping,
 19
      boating, tidepool and marine life study, hunting, sightseeing, or aesthetic enjoyment in
 20
      conjunction with the above activities.”
 21
 22
              36.   The Basin Plan includes a narrative toxicity standard which states that

 23   “[a]ll waters shall be maintained free of toxic substances in concentrations that are

 24   toxic to, or that produce detrimental physiological responses in, human, plant, animal,
 25   or aquatic life.”
 26           37.   The Basin Plan includes a narrative oil and grease standard which states
 27   that “[w]aters shall not contain oils, greases, waxes, or other materials in
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  1   concentrations that result in a visible film or coating on the surface of the water or on
  2   objects in the water, that cause nuisance, or that otherwise adversely affect beneficial
  3   uses.”
  4            38.   The Basin Plan provides that “[w]aters shall not contain suspended or
  5   settleable material in concentrations that cause nuisance or adversely affect beneficial
  6   uses.”
  7            39.   The Basin Plan provides that “[t]he pH of inland surface waters shall not
  8   be raised above 8.5 or depressed below 6.5.”
  9
               40.   The Basin Plan provides that “[s]urface waters shall not contain
 10
      concentrations of chemical constituents in amounts that adversely affect any
 11
      designated beneficial use.”
 12
               41.   The Basin Plan provides that “[w]aters shall not contain floating
 13
      materials, including solids, liquids, foams, and scum, in concentrations that cause
 14
      nuisance or adversely affect beneficial uses.”
 15
               42.   The Basin Plan provides that “[w]aters shall be free of coloration that
 16
      causes nuisance or adversely affects beneficial uses.”
 17
               43.   The Basin Plan provides a chemical constituent standard that “[s]urface
 18
      waters shall not contain concentrations of chemical constituents in amounts that
 19
      adversely affect any designated beneficial use. Water designated for use as Domestic
 20
      or Municipal Supply (MUN) shall not contain concentrations of chemical constituents
 21
 22
      in excess of the limits specified in the following provisions of Title 22 of the

 23   California Code of Regulations which are incorporated by reference into this plan:

 24   Table 64431-A of Section 64431 (Inorganic Chemicals)…” The Basin Plan provides
 25   a Maximum Contaminant Level (“MCL”) for aluminum of 1 mg/L.
 26            44.   The EPA has adopted freshwater numeric water quality standards for
 27   zinc of 0.120 mg/L (Criteria Maximum Concentration – “CMC”); for copper of 0.013
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  1   mg/L (CMC); and for lead of 0.065 mg/L (CMC). 65 Fed. Reg. 31712 (May 18,
  2   2000) (California Toxics Rule).
  3         45.     The EPA 303(d) List of Water Quality Limited Segments lists the Bull
  4   Creek as impaired for indicator bacteria. See http://www.waterboards.ca.gov/
  5   water_issues/programs/tmdl/integrated2012.shtml. Reach 5 of the Los Angeles River
  6   is listed as impaired for copper, lead, oil, nutrients, and trash, among other pollutants.
  7   Reach 4 of the Los Angeles River is listed as impaired for copper, lead, nutrients, and
  8   trash, among other pollutants. Reach 2 of the Los Angeles River is impaired for trash,
  9
      oil, nutrients, copper, and lead, among other pollutants. Reach 1 of the Los Angeles
 10
      River is impaired for zinc, lead, copper, trash, pH, nutrients, and pathogens, among
 11
      other pollutants. The Los Angeles River Estuary is impaired for trash and sediment
 12
      toxicity, among other pollutants. San Pedro Bay is impaired for sediment toxicity,
 13
      among other pollutants.
 14
            46.    EPA has established Parameter Benchmark Values as guidelines for
 15
      determining whether a facility discharging industrial storm water has implemented the
 16
      requisite BAT and BCT. These benchmarks represent pollutant concentrations at
 17
      which a storm water discharge could potentially impair, or contribute to impairing,
 18
      water quality, or affect human health from ingestion of water or fish. The following
 19
      EPA benchmarks have been established for pollution parameters applicable to the
 20
      facilities at issue: pH – 6.0 - 9.0 standard units (“s.u.”); total suspended solids (“TSS”)
 21
 22
      – 100 mg/L; oil and grease (“O&G”) – 15 mg/L; chemical oxygen demand (“COD”) –

 23   120 mg/L; iron – 1.0 mg/L; aluminum – 0.75 mg/L. Additional EPA Benchmarks for

 24   heavy metals, which depend on the hardness of the receiving water, also apply to
 25   storm water discharges from the facilities at issue.
 26         47.    The Numeric Action Levels (“NALs”) in the 2015 Permit are derived
 27   from these benchmarks. The 2015 Permit incorporates annual NALs, which are
      COMPLAINT
 28                                               14
 29
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  1   derived from the 2008 MSGP benchmark values, and instantaneous maximum NALs,
  2   which are derived from a Water Board dataset. The following annual NALs have
  3   been established under the 2015 Permit: TSS – 100 mg/L; O&G – 15 mg/L; COD –
  4   120 mg/L; iron – 1.0 mg/L; aluminum – 0.75 mg/L; zinc – 0.26 mg/L; copper –
  5   0.0332 mg/L; and lead – 0.262 mg/L. An exceedance of annual NALs occurs when
  6   the average of all samples obtained for an entire facility during a single reporting year
  7   is greater than a particular annual NAL. The reporting year runs from July 1 to June
  8   30. The 2015 Permit also establishes the following instantaneous maximum NALs:
  9   pH – 6.0-9.0 s.u.; TSS – 400 mg/L; and O&G – 25 mg/L. An instantaneous
 10   maximum NAL exceedance occurs when two or more analytical results from samples
 11   taken for any single parameter within a reporting year exceed the instantaneous
 12   maximum NAL value (for TSS and O&G) or are outside of the instantaneous
 13   maximum NAL range for pH. When a discharger exceeds an applicable NAL, it is
 14   elevated to “Level 1 Status,” which requires a revision of the SWPPP and additional
 15   BMPs. If a discharger exceeds an applicable NAL during Level 1 Status, it is then
 16   elevated to “Level 2 Status.” For Level 2 Status, a discharger is required to submit an
 17   Action Plan requiring a demonstration of either additional BMPs to prevent
 18   exceedances, a determination that the exceedance is solely due to non-industrial
 19   pollutant sources, or a determination that the exceedance is solely due to the presence
 20   of the pollutant in the natural background.
 21         48.    Section 505(a)(1) and Section 505(f) of the Act provide for citizen
 22   enforcement actions against any “person,” including individuals, corporations, or
 23   partnerships, for violations of NPDES permit requirements. 33 U.S.C. §§ 1365(a)(1)
 24   and (f), § 1362(5). An action for injunctive relief under the Act is authorized by 33
 25   U.S.C. § 1365(a). Violators of the Act are also subject to an assessment of civil
 26   penalties of up to $52,414 for violations occurring after November 2, 2015; and up to
 27   $37,500 per day per violation occurring since October 28, 2011, up to and including
      COMPLAINT
 28                                                 15
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  1   November 2, 2015, pursuant to Sections 309(d) and 505 of the Act, 33 U.S.C. §§
  2   1319(d), 1365. See also 40 C.F.R. §§ 19.1 - 19.4.
  3   V.    STATEMENT OF FACTS
  4         Violations at Los Angeles Plant
  5         49.    Defendant owns and/or operates the Los Angeles Plant, a recycling
  6   facility located in Los Angeles, CA.
  7         50.    The Los Angeles Plant falls within Standard Industrial Classification
  8   (“SIC”) Code 5093.
  9
            51.    The Los Angeles Plant is comprised of two separate plants, known as
 10
      Plant #1 and Plant #2. The two plants cover an area of approximately 2.9 acres and
 11
      are nearly entirely paved.
 12
            52.    Based on Waterkeeper’s investigation, including a review of the Los
 13
      Angeles Plant’s Notice of Intent to Comply with the Terms of the Industrial General
 14
      Permit (“NOI”), SWPPP, aerial photography, and Waterkeeper’s information and
 15
      belief, storm water is collected and discharged from the Los Angeles Plant via at least
 16
      three outfalls. Storm water discharged from the Los Angeles Plant flows into
 17
      channels that empty into Reach 2 of the Los Angeles River, which flows into Reach 1
 18
      of the Los Angeles River and ultimately flows to the Pacific Ocean via the Los
 19
      Angeles River Estuary and San Pedro Bay (collectively, “Los Angeles Plant
 20
      Receiving Waters”).
 21
 22
            53.    Information available to Plaintiff indicates that the Los Angeles Plant

 23   Receiving Waters are waters of the United States.

 24         54.    Plaintiff is informed and believes, and thereupon alleges that the storm
 25   water flows over the surface of the Los Angeles Plant where industrial activities occur
 26   including receiving materials and product transport, maintenance of forklifts and
 27   equipment, welding, and areas where airborne materials associated with the industrial
      COMPLAINT
 28                                              16
 29
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  1   processes at the Los Angeles Plant may settle onto the ground. Plaintiff is informed
  2   and believes, and thereupon alleges that storm water flowing over these areas collects
  3   suspended sediment, dirt, metals, and other pollutants as it flows towards the storm
  4   water discharge locations.
  5         55.    On information and belief, Plaintiff alleges that the majority of storm
  6   water discharges from the Los Angeles Plant contain storm water that is commingled
  7   with runoff from areas at the Los Angeles Plant where industrial processes occur.
  8         56.    On information and belief, Waterkeeper alleges that there are insufficient
  9
      structural storm water control measures installed at the Los Angeles Plant. Plaintiff is
 10
      informed and believes, and thereupon alleges, that the management practices at the
 11
      Los Angeles Plant are currently inadequate to prevent the sources of contamination
 12
      described above from causing the discharge of pollutants to waters of the United
 13
      States. The Los Angeles Plant lacks sufficient structural controls such as grading,
 14
      berming, roofing, containment, or drainage structures to prevent rainfall and storm
 15
      water flows from coming into contact with exposed areas of contaminants. The Los
 16
      Angeles Plant lacks sufficient structural controls to prevent the discharge of water
 17
      once contaminated. The Los Angeles Plant lacks adequate storm water pollution
 18
      treatment technologies to treat storm water once contaminated.
 19
            57.    Since at least October 11, 2012, Defendant has taken samples or arranged
 20
      for samples to be taken of storm water discharges at the Los Angeles Plant. The
 21
 22
      sample results were reported in the Los Angeles Plant’s Annual Reports submitted to

 23   the Regional Board. Defendant certified each of those Annual Reports pursuant to the

 24   General Permit.
 25         58.    In Annual Reports and storm water sampling results submitted to the
 26   Regional Board, the Los Angeles Plant has consistently reported high pollutant levels
 27   from its storm water sampling results.
      COMPLAINT
 28                                              17
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  1         59.   The Los Angeles Plant has reported numerous discharges in excess of
  2   numeric water quality standards established in the Basin Plan. These observations
  3   have thus violated numeric water quality standards established in the Basin Plan and
  4   have thus violated Discharge Prohibition A(2) and Receiving Water Limitations C(1)
  5   and C(2) of the 1997 Permit; Discharge Prohibitions III(C) and III(D) and Receiving
  6   Water Limitations VI(A) and VI(B) of the 2015 Permit; and are evidence of ongoing
  7   violations of Effluent Limitation B(3) of the 1997 Permit and Effluent Limitation
  8   V(A) of the 2015 Permit.
  9
            60.   The levels of zinc in storm water detected by the Los Angeles Plant have
 10
      exceeded the freshwater numeric water quality standard established by the EPA of
 11
      0.12 mg/L for zinc (CMC) for zinc. For example, on December 15, 2016, the level of
 12
      zinc measured at one of the Los Angeles Plant’s storm water outfalls was 0.299 mg/L.
 13
      That level of zinc is 2.5 times the CMC for zinc. Defendant also has measured levels
 14
      of zinc in storm water discharged from the Los Angeles Plant in excess of 0.12 mg/L
 15
      on February 6, 2017; May 14, 2015; and October 11, 2012.
 16
            61.   The levels of zinc in storm water detected by the Los Angeles Plant have
 17
      exceeded the benchmark value and annual NAL for zinc of 0.26 mg/L established by
 18
      EPA and the State Board, respectively. For example, on December 15, 2016, the level
 19
      of zinc measured at one of the Los Angeles Plant’s storm water outfalls was 0.299
 20
      mg/L. Defendant also has measured levels of zinc in storm water discharged from the
 21
 22
      Los Angeles Plant in excess of 0.26 mg/L on May 14, 2015; and October 11, 2012.

 23         62.   The levels of copper in storm water detected by the Los Angeles Plant

 24   have exceeded the freshwater numeric water quality standard established by the EPA
 25   of 0.013 mg/L (CMC). For example, on December 15, 2016, the level of copper
 26   measured at one of the Los Angeles Plant’s storm water outfalls was 0.0627 mg/L.
 27   That level of copper is almost 5 times the CMC for copper. Defendant also has
      COMPLAINT
 28                                             18
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  1   measured levels of copper in storm water discharged from the Los Angeles Plant in
  2   excess of 0.013 mg/L on February 6, 2017; May 14, 2015; and October 11, 2012.
  3         63.   The levels of copper in storm water detected by the Los Angeles Plant
  4   have exceeded the benchmark value and annual NAL for copper of 0.0332 mg/L
  5   established by EPA and the State Board, respectively. For example, on December 15,
  6   2016, the level of copper measured by Defendant at one of the Los Angeles Plant’s
  7   storm water outfalls was 0.0627 mg/L. That level of copper is nearly twice the
  8   benchmark value and annual NAL for copper. Defendant also measured levels of
  9
      copper in storm water discharged from the Los Angeles Plant in excess of 0.0332
 10
      mg/L on May 14, 2015.
 11
            64.   The levels of iron in storm water detected by the Los Angeles Plant have
 12
      exceeded the benchmark value and annual NAL for iron of 1 mg/L established by
 13
      EPA and the State Board, respectively. For example, on May 14, 2015, the level of
 14
      iron measured by Defendant at one of the Los Angeles Plant’s storm water outfalls
 15
      was 1.53 mg/L. That level of iron is over 1.5 times the benchmark value and annual
 16
      NAL for iron. Defendant also measured levels of iron in storm water discharged from
 17
      the Los Angeles Plant in excess of 1 mg/L on October 11, 2012.
 18
            65.   The levels of aluminum in storm water detected by the Los Angeles Plant
 19
      have exceeded the benchmark value and annual NAL for aluminum of 0.75 mg/L
 20
      established by EPA and the State Board, respectively. On May 14, 2015, the level of
 21
 22
      aluminum measured by Defendant at one of the Los Angeles Plant’s storm water

 23   outfalls was 0.82 mg/L.

 24         66.   The levels of COD in storm water detected by the Los Angeles Plant
 25   have exceeded the benchmark value and annual NAL for COD of 120 mg/L
 26   established by EPA and the State Board, respectively. For example, on October 11,
 27   2012, the level of COD measured by Defendant at one of the Los Angeles Plant’s
      COMPLAINT
 28                                            19
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  1   storm water outfalls was 418 mg/L. That level of COD is almost 3.5 time the
  2   benchmark value and annual NAL for COD. Defendant also measured levels of COD
  3   in storm water discharged from the Los Angeles Plant in excess of 120 mg/L on May
  4   14, 2015.
  5            67.   On information and belief, Waterkeeper alleges that COD, iron,
  6   aluminum, and lead are pollutants likely to be present in the Los Angeles Plant’s
  7   storm water discharges in significant quantities and that those pollutants have been
  8   present in the facility’s storm water discharges during the past five years. On
  9   information and belief, Waterkeeper alleges that the Los Angeles Plant is required to
 10   analyze its storm water discharges for COD, iron, aluminum, and lead because the
 11   facility falls under SIC Code 5093. Defendant also indicated in the SWPPP for the
 12   Los Angeles Plant that metals are likely to be present in the facility’s storm water
 13   discharges.
 14            68.   Waterkeeper alleges that Defendant has failed to analyze the Los Angeles
 15   Plant’s storm water discharges for COD, iron, aluminum, and lead, since May 14,
 16   2015.
 17            69.   On information and belief, LAW alleges that during the 2016-2017 and
 18   2015-2016 reporting years, as well as the 2013-2014 wet season, City Fibers failed to
 19   collect and analyze storm water samples from any storm events at the Los Angeles
 20   Plant.
 21            70.   On information and belief, LAW alleges that during the 2015-2016
 22   reporting year, City Fibers failed to collect and analyze storm water samples from any
 23   storm events at the Los Angeles Plant.
 24            71.   On information and belief, LAW alleges that during the 2014-2015 and
 25   2012-2013 wet seasons, City Fibers failed to collect and analyze storm water samples
 26   from a second storm event at the Los Angeles Plant.
 27            72.   On information and belief, LAW alleges that during the 2014-2015 and
      COMPLAINT
 28                                              20
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  1   2012-2013 wet seasons, when it did collect samples, City Fibers failed to collect and
  2   analyze storm water discharges from two of its three outfalls.
  3         73.    On information and belief, Waterkeeper alleges that discharges occurred
  4   from the Los Angeles Plant on the following dates: November 29, 2012; December
  5   18, 2012; December 24, 2012; January 24, 2013; February 19, 2013; March 8, 2013;
  6   May 6, 2013; November 21, 2013; November 29, 2013; December 19, 2013; February
  7   27, 2014; April 1, 2014; October 31, 2014; December 12, 2014; December 16, 2014;
  8   December 30, 2014; April 7, 2015; May 8, 2015; September 15, 2015; October 5,
  9   2015; January 5, 2016; February 17, 2016; March 11, 2016; April 8, 2016; October
 10   17, 2016; December 15, 2016; December 21, 2016; December 30, 2016; January 5,
 11   2017; January 9, 2017; January 19, 2017; February 3, 2017; February 6, 2017;
 12   February 10, 2017; and February 17, 2017.
 13         74.    On information and belief, Waterkeeper alleges that Defendant has
 14   consistently failed to comply with Section B(14) of the 1997 Permit, and Section XV
 15   of the 2015 Permit, by failing to complete proper ACSCE Reports as well as proper
 16   Annual Evaluations for the Los Angeles Plant.
 17         75.    On information and belief, Plaintiff alleges that since at least June 11,
 18   2012, Defendant has failed to implement BAT and BCT at the Los Angeles Plant for
 19   its discharges of COD, iron, aluminum, zinc, copper, lead, and other potentially un-
 20   monitored pollutants. Effluent Limitation B(3) of the 1997 Permit and Effluent
 21   Limitation V(A) of the 2015 Permit requires that Defendant implement BAT for toxic
 22   and nonconventional pollutants and BCT for conventional pollutants by no later than
 23   October 1, 1992. As of the date of this Complaint, Defendant has failed to implement
 24   BAT and BCT.
 25
            76.    LAW alleges that the monitoring program for the Los Angeles Plant does
 26
      not comply with Section XI(B)(6)(c) of the General Permit because it fails to include
 27
      COMPLAINT
 28                                              21
 29
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  1   monitoring for COD, iron, aluminum, zinc, copper, and lead.
  2         77.    On information and belief, Plaintiff alleges that since at least June 11,
  3   2012, Defendant has failed to implement an adequate SWPPP for the Los Angeles
  4   Plant. Plaintiff is informed and believes, and thereupon alleges, that the SWPPP
  5   prepared for the Los Angeles Plant does not set forth site-specific best management
  6   practices for the facility that are consistent with BAT or BCT for the Los Angeles
  7   Plant. Plaintiff is informed and believes, and thereupon alleges, that the SWPPP
  8   prepared for the Los Angeles Plant does not comply with the requirements of Section
  9
      X(H) of the 2015 Permit. The SWPPP also fails to identify and implement advanced
 10
      BMPs that are not being implemented at the Los Angeles Plant because they do not
 11
      reflect best industry practice considering BAT/BCT. According to information
 12
      available to Waterkeeper, the Los Angeles Plant’s SWPPP has not been evaluated to
 13
      ensure its effectiveness and revised where necessary to further reduce pollutant
 14
      discharges. Plaintiff is informed and believes, and thereupon alleges, that the SWPPP
 15
      does not include each of the mandatory elements required by the General Permit. The
 16
      SWPPP for the Los Angeles Plant fails to comply with the requirements of Section
 17
      X(D)(1)(c) of the 2015 Permit by failing to include detailed information about
 18
      procedures to identify alternate team members to implement the SWPPP and conduct
 19
      required monitoring when the regularly assigned team members are temporarily
 20
      unavailable. The SWPPP for the Los Angeles Plant fails to comply with the
 21
 22
      requirements of Section X(D)(2)(4) of the 2015 Permit by failing to document the Los

 23   Angeles Plant’s scheduled operating hours. LAW alleges that the SWPPP for the Los

 24   Angeles Plant contains an insufficient pollutant source assessment in that it fails to
 25   identify COD, iron, aluminum, zinc, copper, and lead as industrial pollutants.
 26         78.    Information available to Waterkeeper indicates that as a result of these
 27   practices, storm water containing excessive pollutants is being discharged from the
      COMPLAINT
 28                                              22
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  1   Los Angeles Plant during rain events into channels that empty into Reach 2 of the Los
  2   Angeles River, which flows into Reach 1 of the Los Angeles River and ultimately
  3   flows to the Pacific Ocean via the Los Angeles River Estuary and San Pedro Bay.
  4         79.    Plaintiff is informed and believes, and thereupon alleges, that Defendant
  5   has failed and continues to fail to alter the Los Angeles Plant’s SWPPP and site-
  6   specific BMPs consistent with the General Permit.
  7         80.    Information available to Plaintiff indicates that Defendant has not
  8   fulfilled the requirements set forth in the General Permit for discharges from the Los
  9
      Angeles Plant due to the continued discharge of contaminated storm water. Plaintiff is
 10
      informed and believes, and thereupon alleges, that all of the violations alleged in this
 11
      Complaint are ongoing and continuous.
 12
            Violations at East Washington Plant
 13
            81.    Defendant owns and/or operates the East Washington Plant, a recycling
 14
      facility located in Los Angeles, CA.
 15
            82.    The East Washington Plant falls within SIC Code 5093.
 16
            83.    The East Washington Plant covers an area of approximately 3.6 acres and
 17
      is fully paved.
 18
            84.    Based on Waterkeeper’s investigation, including a review of the East
 19
      Washington Plant’s NOI, SWPPP, aerial photography, and Waterkeeper’s information
 20
      and belief, storm water is collected and discharged from the East Washington Plant
 21
 22
      via at least two outfalls. Storm water discharged from the Los Angeles Plant flows

 23   into channels that empty into Reach 2 of the Los Angeles River, which flows into

 24   Reach 1 of the Los Angeles River and ultimately flows to the Pacific Ocean via the
 25   Los Angeles River Estuary and San Pedro Bay (collectively, “East Washington Plant
 26   Receiving Waters”).
 27         85.    Information available to Plaintiff indicates the East Washington Plant
      COMPLAINT
 28                                               23
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  1   Receiving Waters are waters of the United States.
  2         86.   Plaintiff is informed and believes, and thereupon alleges that the storm
  3   water flows over the surface of the East Washington Plant where industrial activities
  4   occur including receiving materials and product transport, maintenance of equipment,
  5   welding, and areas where airborne materials associated with the industrial processes at
  6   the East Washington Plant may settle onto the ground. Plaintiff is informed and
  7   believes, and thereupon alleges that storm water flowing over these areas collects
  8   suspended sediment, dirt, metals, and other pollutants as it flows towards the storm
  9
      water discharge locations.
 10
            87.   On information and belief, Plaintiff alleges that the majority of storm
 11
      water discharges from the East Washington Plant contain storm water that is
 12
      commingled with runoff from areas at the East Washington Plant where industrial
 13
      processes occur.
 14
            88.   On information and belief, Waterkeeper alleges that there are insufficient
 15
      structural storm water control measures installed at the East Washington Plant.
 16
      Plaintiff is informed and believes, and thereupon alleges, that the management
 17
      practices at the East Washington Plant are currently inadequate to prevent the sources
 18
      of contamination described above from causing the discharge of pollutants to waters
 19
      of the United States. The East Washington Plant lacks sufficient structural controls
 20
      such as grading, berming, roofing, containment, or drainage structures to prevent
 21
 22
      rainfall and storm water flows from coming into contact with exposed areas of

 23   contaminants. The East Washington Plant lacks sufficient structural controls to

 24   prevent the discharge of water once contaminated. The East Washington Plant lacks
 25   adequate storm water pollution treatment technologies to treat storm water once
 26   contaminated.
 27         89.   Since at least May 14, 2015, Defendant has taken samples or arranged for
      COMPLAINT
 28                                             24
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  1   samples to be taken of storm water discharges at the East Washington Plant. The
  2   sample results were reported in the East Washington Plant’s Annual Reports
  3   submitted to the Regional Board. Defendant certified each of those Annual Reports
  4   pursuant to the General Permit.
  5         90.    In Annual Reports and storm water sampling results submitted to the
  6   Regional Board, the East Washington Plant has consistently reported high pollutant
  7   levels from its storm water sampling results.
  8         91.    The East Washington Plant has reported numerous discharges in excess
  9
      of numeric water quality standards established in the Basin Plan. These observations
 10
      have thus violated numeric water quality standards established in the Basin Plan and
 11
      have thus violated Discharge Prohibition A(2) and Receiving Water Limitations C(1)
 12
      and C(2) of the 1997 Permit; Discharge Prohibitions III(C) and III(D) and Receiving
 13
      Water Limitations VI(A) and VI(B) of the 2015 Permit; and are evidence of ongoing
 14
      violations of Effluent Limitation B(3) of the 1997 Permit and Effluent Limitation
 15
      V(A) of the 2015 Permit.
 16
            92.    The levels of zinc in storm water detected by the East Washington Plant
 17
      have exceeded the freshwater numeric water quality standard established by the EPA
 18
      of 0.12 mg/L for zinc (CMC) for zinc. For example, on February 6, 2017, the level of
 19
      zinc measured at one of the East Washington Plant’s storm water outfalls was 0.533
 20
      mg/L. That level of zinc is almost 4.5 times the CMC for zinc. Defendant also has
 21
 22
      measured levels of zinc in storm water discharged from the East Washington Plant in

 23   excess of 0.12 mg/L on December 23, 2017; and May 14, 2015.

 24         93.    The levels of zinc in storm water detected by the East Washington Plant
 25   have exceeded the benchmark value and annual NAL for zinc of 0.26 mg/L
 26   established by EPA and the State Board, respectively. For example, on February 6,
 27   2017, the level of zinc measured at one of the East Washington Plant’s storm water
      COMPLAINT
 28                                             25
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  1   outfalls was 0.533 mg/L. That level of zinc is over twice the benchmark value and
  2   annual NAL for zinc. Defendant also has measured levels of zinc in storm water
  3   discharged from the East Washington Plant in excess of 0.26 mg/L on May 14, 2015.
  4           94.   The levels of copper in storm water detected by the East Washington
  5   Plant have exceeded the freshwater numeric water quality standard established by the
  6   EPA of 0.013 mg/L (CMC). On February 6, 2017, the level of copper measured at
  7   one of the East Washington Plant’s storm water outfalls was 0.0177 mg/L. Defendant
  8   also has measured levels of copper in storm water discharged from the East
  9
      Washington Plant in excess of 0.013 mg/L in every other storm water sample taken
 10
      from the facility, including December 23, 2016; December 15, 2016; and May 14,
 11
      2015.
 12
              95.   The levels of copper in storm water detected by the East Washington
 13
      Plant have exceeded the benchmark value and annual NAL for copper of 0.0332 mg/L
 14
      established by EPA and the State Board, respectively. On May 14, 2015, the level of
 15
      copper measured by Defendant at one of the East Washington Plant’s storm water
 16
      outfalls was 0.044 mg/L.
 17
              96.   The levels of iron in storm water detected by the East Washington Plant
 18
      have exceeded the benchmark value and annual NAL for iron of 1 mg/L established
 19
      by EPA and the State Board, respectively. On May 14, 2015, the level of iron
 20
      measured by Defendant at one of the East Washington Plant’s storm water outfalls
 21
 22
      was 1.2 mg/L.

 23           97.   The levels of COD in storm water detected by the East Washington Plant

 24   have exceeded the benchmark value and annual NAL for COD of 120 mg/L
 25   established by EPA and the State Board, respectively. On May 14, 2015, the level of
 26   COD measured by Defendant at one of the East Washington Plant’s storm water
 27   outfalls was 160 mg/L.
      COMPLAINT
 28                                              26
 29
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  1         98.     On information and belief, Waterkeeper alleges that COD, iron,
  2   aluminum, and lead are pollutants likely to be present in the East Washington Plant’s
  3   storm water discharges in significant quantities and that those pollutants have been
  4   present in the facility’s storm water discharges during the past five years. On
  5   information and belief, Waterkeeper alleges that the East Washington Plant is required
  6   to analyze its storm water discharges for COD, iron, aluminum, and lead because the
  7   facility falls under SIC Code 5093. Defendant also indicated in the SWPPP for the
  8   East Washington Plant that metals are likely to be present in the facility’s storm water
  9   discharges.
 10         99.     Waterkeeper alleges that Defendant has failed to analyze the East
 11   Washington Plant’s storm water discharges for COD, iron, aluminum, and lead, since
 12   May 14, 2015.
 13         100. On information and belief, LAW alleges that during the 2016-2017
 14   reporting year, City Fibers failed to collect and analyze storm water samples from two
 15   out of four required storm events at the East Washington Plant.
 16         101. On information and belief, LAW alleges that during the 2015-2016
 17   reporting year, City Fibers failed to collect and analyze storm water samples from any
 18   storm events at the East Washington Plant.
 19         102. On information and belief, LAW alleges that during the 2014-2015 wet
 20   season, City Fibers failed to collect and analyze storm water samples from one of the
 21   required two storm events at the East Washington Plant.
 22         103. During all of the years when it has collected and analyzed storm water
 23   samples, City Fibers never collected and analyzed storm water discharges at the East
 24   Washington Plant for more than one outfall from a particular sampling event. LAW
 25   thus alleges that City Fibers failed to collect samples from each storm water discharge
 26   location during every sampling event since December 16, 2014.
 27         104. On information and belief, Waterkeeper alleges that discharges occurred
      COMPLAINT
 28                                              27
 29
 30
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  1   from the East Washington Plant on the following dates: December 30, 2014; April 7,
  2   2015; May 8, 2015; September 15, 2015; October 5, 2015; January 5, 2016; February
  3   17, 2016; March 11, 2016; April 8, 2016; October 17, 2016; December 15, 2016;
  4   December 21, 2016; December 30, 2016; January 5, 2017; January 9, 2017; January
  5   19, 2017; February 3, 2017; February 6, 2017; February 10, 2017; and February 17,
  6   2017.
  7           105. On information and belief, Waterkeeper alleges that Defendant has
  8   consistently failed to comply with Section B(14) of the 1997 Permit, and Section XV
  9   of the 2015 Permit, by failing to complete proper ACSCE Reports as well as proper
 10   Annual Evaluations for the East Washington Plant.
 11           106. On information and belief, Plaintiff alleges that since at least June 11,
 12   2012, Defendant has failed to implement BAT and BCT at the East Washington Plant
 13   for its discharges of copper, zinc, COD, iron, aluminum, TSS, and other potentially
 14   un-monitored pollutants. Effluent Limitation B(3) of the 1997 Permit and Effluent
 15   Limitation V(A) of the 2015 Permit requires that Defendant implement BAT for toxic
 16   and nonconventional pollutants and BCT for conventional pollutants by no later than
 17   October 1, 1992. As of the date of this Complaint, Defendant has failed to implement
 18   BAT and BCT.
 19
              107.   On information and belief, Plaintiff alleges that since at least June 11,
 20
      2012, Defendant has failed to implement an adequate SWPPP for the East
 21
      Washington Plant. Plaintiff is informed and believes, and thereupon alleges, that the
 22
      SWPPP prepared for the East Washington Plant does not set forth site-specific best
 23
      management practices for the facility that are consistent with BAT or BCT for the
 24
      East Washington Plant. Plaintiff is informed and believes, and thereupon alleges, that
 25
      the SWPPP prepared for the East Washington Plant does not comply with the
 26
      requirements of Section X(H) of the 2015 Permit. The SWPPP also fails to identify
 27
      COMPLAINT
 28                                                28
 29
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  1   and implement advanced BMPs that are not being implemented at the East
  2   Washington Plant because they do not reflect best industry practice considering
  3   BAT/BCT. According to information available to Waterkeeper, the East Washington
  4   Plant’s SWPPP has not been evaluated to ensure its effectiveness and revised where
  5   necessary to further reduce pollutant discharges. Plaintiff is informed and believes,
  6   and thereupon alleges, that the SWPPP does not include each of the mandatory
  7   elements required by the General Permit. The SWPPP for the East Washington Plant
  8   fails to comply with the requirements of Section X(D)(1)(c) of the 2015 Permit by
  9
      failing to include detailed information about procedures to identify alternate team
 10
      members to implement the SWPPP and conduct required monitoring when the
 11
      regularly assigned team members are temporarily unavailable. The SWPPP for the
 12
      East Washington Plant fails to comply with the requirements of Section X(D)(2)(4) of
 13
      the 2015 Permit by failing to document the East Washington Plant’s scheduled
 14
      operating hours. The SWPPP for the East Washington Plant also fails to comply with
 15
      the requirements of Section X(H) of the 2015 Permit. LAW alleges that the SWPPP
 16
      for the East Washington Plant contains an insufficient pollutant source assessment in
 17
      that it fails to identify COD, iron, aluminum, and lead as industrial pollutants.
 18
            108. Information available to Waterkeeper indicates that as a result of these
 19
      practices, storm water containing excessive pollutants is being discharged from the
 20
      East Washington Plant during rain events into channels that empty into Reach 2 of the
 21
 22
      Los Angeles River, which flows into Reach 1 of the Los Angeles River and ultimately

 23   flows to the Pacific Ocean via the Los Angeles River Estuary and San Pedro Bay.

 24         109. Plaintiff is informed and believes, and thereupon alleges, that Defendant
 25   has failed and continues to fail to alter the East Washington Plant’s SWPPP and site-
 26   specific BMPs consistent with the General Permit.
 27         110. Information available to Plaintiff indicates that Defendant has not
      COMPLAINT
 28                                              29
 29
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  1   fulfilled the requirements set forth in the General Permit for discharges from the East
  2   Washington Plant due to the continued discharge of contaminated storm water.
  3   Plaintiff is informed and believes, and thereupon alleges, that all of the violations
  4   alleged in this Complaint are ongoing and continuous.
  5         Violations at West Washington Plant
  6         111. Defendant owns and/or operates the West Washington Plant, a recycling
  7   facility located in Los Angeles, CA.
  8         112. The West Washington Plant falls within SIC Code 5093.
  9
            113. The West Washington Plant covers an area of approximately 1.5 acres
 10
      and is fully paved.
 11
            114. Based on Waterkeeper’s investigation, including a review of the West
 12
      Washington Plant’s NOI, SWPPP, aerial photography, and Waterkeeper’s information
 13
      and belief, storm water is collected and discharged from the West Washington Plant
 14
      via at least two outfalls. Storm water discharged from the Los Angeles Plant flows
 15
      into channels that empty into Reach 2 of the Los Angeles River, which flows into
 16
      Reach 1 of the Los Angeles River and ultimately flows to the Pacific Ocean via the
 17
      Los Angeles River Estuary and San Pedro Bay (collectively, “West Washington Plant
 18
      Receiving Waters”).
 19
            115. Information available to Plaintiff indicates the West Washington Plant
 20
      Receiving Waters are waters of the United States.
 21
 22
            116. Plaintiff is informed and believes, and thereupon alleges that the storm

 23   water flows over the surface of the West Washington Plant where industrial activities

 24   occur including receiving materials and product transport, maintenance of equipment,
 25   welding, and areas where airborne materials associated with the industrial processes at
 26   the Los Angeles Plant may settle onto the ground. Plaintiff is informed and believes,
 27   and thereupon alleges that storm water flowing over these areas collects suspended
      COMPLAINT
 28                                               30
 29
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  1   sediment, dirt, metals, and other pollutants as it flows towards the storm water
  2   discharge locations.
  3         117. On information and belief, Plaintiff alleges that the majority of storm
  4   water discharges from the West Washington Plant contain storm water that is
  5   commingled with runoff from areas at the West Washington Plant where industrial
  6   processes occur.
  7         118. On information and belief, Waterkeeper alleges that there are insufficient
  8   structural storm water control measures installed at the West Washington Plant.
  9
      Plaintiff is informed and believes, and thereupon alleges, that the management
 10
      practices at the West Washington Plant are currently inadequate to prevent the sources
 11
      of contamination described above from causing the discharge of pollutants to waters
 12
      of the United States. The West Washington Plant lacks sufficient structural controls
 13
      such as grading, berming, roofing, containment, or drainage structures to prevent
 14
      rainfall and storm water flows from coming into contact with exposed areas of
 15
      contaminants. The West Washington Plant lacks sufficient structural controls to
 16
      prevent the discharge of water once contaminated. The West Washington Plant lacks
 17
      adequate storm water pollution treatment technologies to treat storm water once
 18
      contaminated.
 19
            119. Since at least October 5, 2011, Defendant has taken samples or arranged
 20
      for samples to be taken of storm water discharges at the West Washington Plant. The
 21
 22
      sample results were reported in the West Washington Plant’s Annual Reports

 23   submitted to the Regional Board. Defendant certified each of those Annual Reports

 24   pursuant to the General Permit.
 25         120. In Annual Reports and storm water sampling results submitted to the
 26   Regional Board, the West Washington Plant has consistently reported high pollutant
 27   levels from its storm water sampling results.
      COMPLAINT
 28                                              31
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  1         121. The West Washington Plant has reported numerous discharges in excess
  2   of numeric water quality standards established in the Basin Plan. These observations
  3   have thus violated narrative and numeric water quality standards established in the
  4   Basin Plan and have thus violated Discharge Prohibition A(2) and Receiving Water
  5   Limitations C(1) and C(2) of the 1997 Permit; Discharge Prohibitions III(C) and
  6   III(D) and Receiving Water Limitations VI(A) and VI(B) of the 2015 Permit; and are
  7   evidence of ongoing violations of Effluent Limitation B(3) of the 1997 Permit and
  8   Effluent Limitation V(A) of the 2015 Permit.
  9
            122. The West Washington Plant has reported discharges outside of the range
 10
      of the numeric water quality standard for pH of 6.5 – 8.5 s.u. established in the Basin
 11
      Plan. Defendant measured storm water discharges from the West Washington Plant
 12
      with a pH level either below 6.5 s.u. on the following dates: May 14, 2015; and
 13
      January 26, 2015.
 14
            123. The levels of pH in storm water detected by the West Washington Plant
 15
      have exceeded the benchmark value and annual NAL for pH of 6.0 – 9.0 s.u.
 16
      established by EPA and the State Board, respectively. On May 14, 2015, the level of
 17
      pH in storm water measured by Defendant at one of the West Washington Plant’s
 18
      outfalls was 5.7 s.u.
 19
            124. The levels of zinc in storm water detected by the West Washington Plant
 20
      have exceeded the freshwater numeric water quality standard established by the EPA
 21
 22
      of 0.12 mg/L for zinc (CMC) for zinc. For example, on February 6, 2017, the level of

 23   zinc measured at one of the West Washington Plant’s storm water outfalls was 0.763

 24   mg/L. That level of zinc is over 6 times the CMC for zinc. Defendant also has
 25   measured levels of zinc in storm water discharged from the West Washington Plant in
 26   excess of 0.12 mg/L on May 14, 2015, and January 26, 2015.
 27         125. The levels of zinc in storm water detected by the West Washington Plant
      COMPLAINT
 28                                              32
 29
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  1   have exceeded the benchmark value and annual NAL for zinc of 0.26 mg/L
  2   established by EPA and the State Board, respectively. For example, on February 6,
  3   2017, the level of zinc measured at one of the West Washington Plant’s storm water
  4   outfalls was 0.763 mg/L. That level of zinc is almost three times the benchmark value
  5   and annual NAL for zinc. Defendant also has measured levels of zinc in storm water
  6   discharged from the West Washington Plant in excess of 0.26 mg/L on May 14, 2015,
  7   and January 26, 2015.
  8         126. The levels of copper in storm water detected by the West Washington
  9
      Plant have exceeded the freshwater numeric water quality standard established by the
 10
      EPA of 0.013 mg/L (CMC). On December 15, 2016, the level of copper measured at
 11
      one of the West Washington Plant’s storm water outfalls was 0.174 mg/L. That level
 12
      of copper is over 13 times the CMC for copper. Defendant also has measured levels
 13
      of copper in storm water discharged from the West Washington Plant in excess of
 14
      0.013 mg/L on February 6, 2017; May 14, 2015; and January 26, 2015.
 15
            127. The levels of copper in storm water detected by the West Washington
 16
      Plant have exceeded the benchmark value and annual NAL for copper of 0.0332 mg/L
 17
      established by EPA and the State Board, respectively. For example, on December 15,
 18
      2016, the level of copper measured by Defendant at one of the West Washington
 19
      Plant’s storm water outfalls was 0.174 mg/L. That level of copper is over five times
 20
      the benchmark value and annual NAL for copper. Defendant also has measured levels
 21
 22
      of copper in storm water discharged from the West Washington Plant in excess of

 23   0.0332 mg/L on February 6, 2017; May 14, 2015; and January 26, 2015.

 24         128. The levels of iron in storm water detected by the West Washington Plant
 25   have exceeded the benchmark value and annual NAL for iron of 1.0 mg/L established
 26   by EPA and the State Board, respectively. For example, on January 26, 2015, the
 27   level of iron measured by Defendant at one of the West Washington Plant’s storm
      COMPLAINT
 28                                             33
 29
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  1   water outfalls was 2.62 mg/L. Defendant also measured levels of iron in storm water
  2   discharged from the West Washington Plant in excess of 1.0 mg/L on May 14, 2015.
  3           129. The levels of O&G in storm water detected by the West Washington
  4   Plant have exceeded the benchmark value and annual NAL for O&G of 15 mg/L
  5   established by EPA and the State Board, respectively. On January 26, 2015, the level
  6   of O&G measured by Defendant at one of the West Washington Plant’s storm water
  7   outfalls was 56.9 mg/L.
  8           130. The levels of COD in storm water detected by the West Washington
  9
      Plant have exceeded the benchmark value and annual NAL for COD of 120 mg/L
 10
      established by EPA and the State Board, respectively. For example, on January 26,
 11
      2015, the level of COD measured by Defendant at one of the West Washington
 12
      Plant’s storm water outfalls was 7,390 mg/L. This level is over 61 times the
 13
      benchmark and NAL for COD. Defendant also measured levels of COD in storm
 14
      water discharged from the West Washington Plant in excess of 120 mg/L on May 14,
 15
      2015.
 16
              131. The levels of aluminum in storm water detected by the West Washington
 17
      Plant have exceeded the MCL established by the Basin Plan of 1 mg/L. On January
 18
      26, 2015, the level of aluminum measured at one of the West Washington Plant’s
 19
      storm water outfalls was 1.56 mg/L.
 20
              132. The levels of aluminum in storm water detected by the West Washington
 21
 22
      Plant have exceeded the benchmark value and annual NAL for aluminum of 0.75

 23   mg/L established by EPA and the State Board, respectively. On January 26, 2015, the

 24   level of aluminum measured by Defendant at one of the West Washington Plant’s
 25   storm water outfalls was 1.56 mg/L.
 26           133. On information and belief, Waterkeeper alleges that COD, zinc, iron,
 27   aluminum, and lead are pollutants likely to be present in the West Washington Plant’s
      COMPLAINT
 28                                             34
 29
 30
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  1   storm water discharges in significant quantities and that those pollutants have been
  2   present in the facility’s storm water discharges during the past five years. On
  3   information and belief, Waterkeeper alleges that the West Washington Plant is
  4   required to analyze its storm water discharges for COD, zinc, iron, aluminum, and
  5   lead because the facility falls under SIC Code 5093. Defendant also indicated in the
  6   SWPPP for the West Washington Plant that metals are likely to be present in the
  7   facility’s storm water discharges.
  8         134. With the exception of analyzing zinc for a single sample taken on
  9   February 6, 2017, Waterkeeper alleges that Defendant has failed to analyze the West
 10   Washington Plant’s storm water discharges for COD, iron, zinc, aluminum, and lead,
 11   since May 14, 2015.
 12         135.   On information and belief, LAW alleges that during the 2016-2017 and
 13   2015-2016 reporting years, City Fibers failed to collect and analyze storm water
 14   samples from any storm events at the West Washington Plant.
 15         136. On information and belief, LAW alleges that during the 2014-2015 wet
 16   season, City Fibers failed to collect and analyze storm water samples from its second
 17   outfall when it did collect and analyze storm water discharges from the West
 18   Washington Plant.
 19         137. On information and belief, LAW alleges that during the 2013-2014 and
 20   the 2012-2013 wet seasons, City Fibers failed to collect and analyze any storm water
 21   samples from the West Washington Plant.
 22         138. On information and belief, Waterkeeper alleges that discharges occurred
 23   from the West Washington Plant on the following dates: November 29, 2012;
 24   December 18, 2012; December 24, 2012; January 24, 2013; February 19, 2013; March
 25   8, 2013; May 6, 2013; November 21, 2013; November 29, 2013; December 19, 2013;
 26   February 27, 2014; April 1, 2014; October 31, 2014; December 12, 2014; December
 27   16, 2014; December 30, 2014; April 7, 2015; May 8, 2015; September 15, 2015;
      COMPLAINT
 28                                              35
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  1   October 5, 2015; January 5, 2016; February 17, 2016; March 11, 2016; April 8, 2016;
  2   October 17, 2016; December 15, 2016; December 21, 2016; December 30, 2016;
  3   January 5, 2017; January 9, 2017; January 19, 2017; February 3, 2017; February 6,
  4   2017; February 10, 2017; and February 17, 2017.
  5         139. On information and belief, Waterkeeper alleges that Defendant has
  6   consistently failed to comply with Section B(14) of the 1997 Permit, and Section XV
  7   of the 2015 Permit, by failing to complete proper ACSCE Reports as well as proper
  8   Annual Evaluations for the West Washington Plant.
  9         140. On information and belief, Plaintiff alleges that since at least June 11,
 10   2012, Defendant has failed to implement BAT and BCT at the West Washington Plant
 11   for its discharges of pH, O&G, copper, zinc, COD, iron, aluminum, and other
 12   potentially un-monitored pollutants. Effluent Limitation B(3) of the 1997 Permit and
 13   Effluent Limitation V(A) of the 2015 Permit requires that Defendant implement BAT
 14   for toxic and nonconventional pollutants and BCT for conventional pollutants by no
 15   later than October 1, 1992. As of the date of this Complaint, Defendant has failed to
 16   implement BAT and BCT.
 17
            141.   On information and belief, Plaintiff alleges that since at least June 11,
 18
      2012, Defendant has failed to implement an adequate SWPPP for the West
 19
      Washington Plant. Plaintiff is informed and believes, and thereupon alleges, that the
 20
      SWPPP prepared for the West Washington Plant does not set forth site-specific best
 21
      management practices for the facility that are consistent with BAT or BCT for the
 22
      West Washington Plant. Plaintiff is informed and believes, and thereupon alleges, that
 23
      the SWPPP prepared for the West Washington Plant does not comply with the
 24
      requirements of Section X(H) of the 2015 Permit. The SWPPP also fails to identify
 25
      and implement advanced BMPs that are not being implemented at the West
 26
      Washington Plant because they do not reflect best industry practice considering
 27
      COMPLAINT
 28                                              36
 29
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  1   BAT/BCT. According to information available to Waterkeeper, the West Washington
  2   Plant’s SWPPP has not been evaluated to ensure its effectiveness and revised where
  3   necessary to further reduce pollutant discharges. Plaintiff is informed and believes,
  4   and thereupon alleges, that the SWPPP does not include each of the mandatory
  5   elements required by the General Permit. The SWPPP for the West Washington Plant
  6   fails to comply with the requirements of Section X(D)(1)(c) of the 2015 Permit by
  7   failing to include detailed information about procedures to identify alternate team
  8   members to implement the SWPPP and conduct required monitoring when the
  9
      regularly assigned team members are temporarily unavailable. The SWPPP for the
 10
      West Washington Plant fails to comply with the requirements of Section X(D)(2)(4)
 11
      of the 2015 Permit by failing to document the West Washington Plant’s scheduled
 12
      operating hours. LAW alleges that the SWPPP for the West Washington Plant
 13
      contains an insufficient pollutant source assessment in that it fails to identify COD,
 14
      iron, aluminum, and lead as industrial pollutants.
 15
            142. Information available to Waterkeeper indicates that as a result of these
 16
      practices, storm water containing excessive pollutants is being discharged from the
 17
      West Washington Plant during rain events into channels that empty into Reach 2 of
 18
      the Los Angeles River, which flows into Reach 1 of the Los Angeles River and
 19
      ultimately flows to the Pacific Ocean via the Los Angeles River Estuary and San
 20
      Pedro Bay.
 21
 22
            143. Plaintiff is informed and believes, and thereupon alleges, that Defendant

 23   has failed and continues to fail to alter the West Washington Plant’s SWPPP and site-

 24   specific BMPs consistent with the General Permit.
 25         144. Information available to Plaintiff indicates that Defendant has not
 26   fulfilled the requirements set forth in the General Permit for discharges from the West
 27   Washington Plant due to the continued discharge of contaminated storm water.
      COMPLAINT
 28                                              37
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  1   Plaintiff is informed and believes, and thereupon alleges, that all of the violations
  2   alleged in this Complaint are ongoing and continuous.
  3         Violations at West Valley Plant
  4         145. Defendant owns and/or operates the West Valley Plant, a recycling
  5   facility located in Los Angeles, CA.
  6         146. The West Valley Plant falls within SIC Code 5093.
  7         147. The West Valley Plant covers an area of approximately 2 acres and is
  8   fully paved.
  9
            148. Based on Waterkeeper’s investigation, including a review of the West
 10
      Valley Plant’s NOI, SWPPP, aerial photography, and Waterkeeper’s information and
 11
      belief, storm water is collected and discharged from the West Valley Plant via at least
 12
      one outfall. Storm water discharged from the Los Angeles Plant flows into channels
 13
      that empty into Bull Creek, which flows into Reach 5 of the Los Angeles River, which
 14
      flows into Reach 4 of the Los Angeles River, which flows into Reach 3 of the Los
 15
      Angeles River, which flows into Reach 2 of the Los Angeles River, which flows into
 16
      Reach 1 of the Los Angeles River and ultimately flows to the Pacific Ocean via the
 17
      Los Angeles River Estuary and San Pedro Bay (collectively, “West Valley Plant
 18
      Receiving Waters”).
 19
            149. Information available to Plaintiff indicates the West Valley Plant
 20
      Receiving Waters are waters of the United States.
 21
 22
            150. Plaintiff is informed and believes, and thereupon alleges that the storm

 23   water flows over the surface of the West Valley Plant where industrial activities occur

 24   including receiving materials and product transport, maintenance of equipment,
 25   welding, and areas where airborne materials associated with the industrial processes at
 26   the Los Angeles Plant may settle onto the ground. Plaintiff is informed and believes,
 27   and thereupon alleges that storm water flowing over these areas collects suspended
      COMPLAINT
 28                                               38
 29
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  1   sediment, dirt, metals, and other pollutants as it flows towards the storm water
  2   discharge locations.
  3         151. On information and belief, Plaintiff alleges that the majority of storm
  4   water discharges from the West Valley Plant contain storm water that is commingled
  5   with runoff from areas at the West Valley Plant where industrial processes occur.
  6         152. On information and belief, Waterkeeper alleges that there are insufficient
  7   structural storm water control measures installed at the West Valley Plant. Plaintiff is
  8   informed and believes, and thereupon alleges, that the management practices at the
  9
      West Valley Plant are currently inadequate to prevent the sources of contamination
 10
      described above from causing the discharge of pollutants to waters of the United
 11
      States. The West Valley Plant lacks sufficient structural controls such as grading,
 12
      berming, roofing, containment, or drainage structures to prevent rainfall and storm
 13
      water flows from coming into contact with exposed areas of contaminants. The West
 14
      Valley Plant lacks sufficient structural controls to prevent the discharge of water once
 15
      contaminated. The West Valley Plant lacks adequate storm water pollution treatment
 16
      technologies to treat storm water once contaminated.
 17
            153. Since at least December 12, 2011, Defendant has taken samples or
 18
      arranged for samples to be taken of storm water discharges at the West Valley Plant.
 19
      The sample results were reported in the West Valley Plant’s Annual Reports
 20
      submitted to the Regional Board. Defendant certified each of those Annual Reports
 21
 22
      pursuant to the General Permit.

 23         154. In Annual Reports and storm water sampling results submitted to the

 24   Regional Board, the West Valley Plant has consistently reported high pollutant levels
 25   from its storm water sampling results.
 26         155. The West Valley Plant has reported numerous discharges in excess of
 27   numeric water quality standards established in the Basin Plan. These observations
      COMPLAINT
 28                                              39
 29
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  1   have thus violated numeric water quality standards established in the Basin Plan and
  2   have thus violated Discharge Prohibition A(2) and Receiving Water Limitations C(1)
  3   and C(2) of the 1997 Permit; Discharge Prohibitions III(C) and III(D) and Receiving
  4   Water Limitations VI(A) and VI(B) of the 2015 Permit; and are evidence of ongoing
  5   violations of Effluent Limitation B(3) of the 1997 Permit and Effluent Limitation
  6   V(A) of the 2015 Permit.
  7         156. The levels of zinc in storm water detected by the West Valley Plant have
  8   exceeded the freshwater numeric water quality standard established by the EPA of
  9
      0.12 mg/L for zinc (CMC) for zinc. On October 11, 2012, the level of zinc measured
 10
      at the West Valley Plant’s storm water outfall was 0.451 mg/L. That level of zinc is
 11
      almost 4 times the CMC for zinc.
 12
            157. The levels of zinc in storm water detected by the West Valley Plant have
 13
      exceeded the benchmark value and annual NAL for zinc of 0.26 mg/L established by
 14
      EPA and the State Board, respectively. On October 11, 2012, the level of zinc
 15
      measured at the West Valley Plant’s storm water outfall was 0.451 mg/L. That level
 16
      of zinc is almost twice the benchmark value and annual NAL for zinc.
 17
            158. The levels of copper in storm water detected by the West Valley Plant
 18
      have exceeded the freshwater numeric water quality standard established by the EPA
 19
      of 0.013 mg/L (CMC). On October 11, 2012, the level of copper measured at the
 20
      West Valley Plant’s storm water outfall was 0.0926 mg/L. That level of copper is
 21
 22
      over 7 times the CMC for copper.

 23         159. The levels of copper in storm water detected by the West Valley Plant

 24   have exceeded the benchmark value and annual NAL for copper of 0.0332 mg/L
 25   established by EPA and the State Board, respectively. On October 11, 2012, the level
 26   of copper measured by Defendant at the West Valley Plant’s storm water outfall was
 27   0.0926 mg/L. That level of copper is almost three times the benchmark value and
      COMPLAINT
 28                                             40
 29
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  1   annual NAL for copper.
  2         160. The levels of aluminum in storm water detected by the West Valley Plant
  3   have exceeded the MCL established by the Basin Plan of 1 mg/L. On October 11,
  4   2012, the level of aluminum measured at the West Valley Plant’s storm water outfall
  5   was 1.72 mg/L.
  6         161. The levels of aluminum in storm water detected by the West Valley Plant
  7   have exceeded the benchmark value and annual NAL for aluminum of 0.75 mg/L
  8   established by EPA and the State Board, respectively. On October 11, 2012, the level
  9
      of aluminum measured by Defendant at the West Valley Plant’s storm water outfall
 10
      was 1.72 mg/L. That level of aluminum is over twice the benchmark value and
 11
      annual NAL for aluminum.
 12
            162. The levels of iron in storm water detected by the West Valley Plant have
 13
      exceeded the benchmark value and annual NAL for iron of 1.0 mg/L established by
 14
      EPA and the State Board, respectively. On October 11, 2012, the level of iron
 15
      measured by Defendant at West Valley Plant’s storm water outfalls was 2.92 mg/L.
 16
            163. The levels of COD in storm water detected by the West Valley Plant
 17
      have exceeded the benchmark value and annual NAL for COD of 120 mg/L
 18
      established by EPA and the State Board, respectively. On October 11, 2012, the level
 19
      of COD measured by Defendant at the West Valley Plant’s storm water outfall was
 20
      213 mg/L.
 21
 22
            164. The levels of TSS in storm water detected by the West Valley Plant have

 23   exceeded the benchmark value and annual NAL for TSS of 100 mg/L established by

 24   EPA and the State Board, respectively. For example, on December 23, 2016, the level
 25   of TSS measured by Defendant at the West Valley Plant’s storm water outfall was 229
 26   mg/L. Defendant also measured levels of TSS in storm water discharged from the
 27   West Valley Plant in excess of 100 mg/L on December 16, 2016, and October 11,
      COMPLAINT
 28                                            41
 29
 30
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  1   2012.
  2           165. On information and belief, Waterkeeper alleges that COD, zinc, iron,
  3   aluminum, copper, and lead are pollutants likely to be present in the West Valley
  4   Plant’s storm water discharges in significant quantities and that those pollutants have
  5   been present in the facility’s storm water discharges during the past five years. On
  6   information and belief, Waterkeeper alleges that the West Valley Plant is required to
  7   analyze its storm water discharges for COD, zinc, iron, aluminum, and lead because
  8   the facility falls under SIC Code 5093. Defendant also indicated in the SWPPP for
  9   the West Valley Plant that metals are likely to be present in the facility’s storm water
 10   discharges.
 11           166. Waterkeeper alleges that Defendant has failed to analyze the West Valley
 12   Plant’s storm water discharges for COD, iron, zinc, aluminum, copper, and lead, since
 13   October 11, 2012.
 14           167.   On information and belief, LAW alleges that during the 2016-2017 and
 15   2015-2016 reporting years, as well as the 2014-2015 and 2013-2014 wet seasons, City
 16   Fibers failed to collect and analyze storm water samples from any storm events at the
 17   West Valley Plant.
 18           168. On information and belief, LAW alleges that during the 2012-2013 wet
 19   season, City Fibers failed to collect and analyze storm water samples from a second
 20   storm event at the West Valley Plant.
 21           169.   On information and belief, Waterkeeper alleges that discharges occurred
 22   from the West Valley Plant on the following dates: November 29, 2012; December
 23   12, 2012; December 24, 2012; January 24, 2013; February 19, 2013; March 7, 2013;
 24   May 6, 2013; November 29, 2013; December 19, 2013; February 6, 2014; February
 25   26, 2014; April 1, 2014; October 31, 2014; December 11, 2014; December 16, 2014;
 26   May 14, 2015; September 15, 2015; December 22, 2015; January 5, 2016; February
 27   17, 2016; March 11, 2016; May 6, 2016; October 17, 2016; December 15, 2016;
      COMPLAINT
 28                                              42
 29
 30
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  1   December 21, 2016; December 30, 2016; January 4, 2017; January 19, 2017; February
  2   3, 2017; February 6, 2017; February 17, 2017.
  3         170. On information and belief, Waterkeeper alleges that Defendant has
  4   consistently failed to comply with Section B(14) of the 1997 Permit, and Section XV
  5   of the 2015 Permit, by failing to complete proper ACSCE Reports as well as proper
  6   Annual Evaluations for the West Valley Plant.
  7         171. On information and belief, Plaintiff alleges that since at least June 11,
  8   2012, Defendant has failed to implement BAT and BCT at the West Valley Plant for
  9   its discharges of TSS, COD, iron, aluminum, zinc, copper, and other potentially un-
 10   monitored pollutants. Effluent Limitation B(3) of the 1997 Permit and Effluent
 11   Limitation V(A) of the 2015 Permit requires that Defendant implement BAT for toxic
 12   and nonconventional pollutants and BCT for conventional pollutants by no later than
 13   October 1, 1992. As of the date of this Complaint, Defendant has failed to implement
 14   BAT and BCT.
 15
            172.   On information and belief, Plaintiff alleges that since at least June 11,
 16
      2012, Defendant has failed to implement an adequate SWPPP for the West Valley
 17
      Plant. Plaintiff is informed and believes, and thereupon alleges, that the SWPPP
 18
      prepared for the West Valley Plant does not set forth site-specific best management
 19
      practices for the facility that are consistent with BAT or BCT for the West Valley
 20
      Plant. Plaintiff is informed and believes, and thereupon alleges, that the SWPPP
 21
      prepared for the West Valley Plant does not comply with the requirements of Section
 22
      X(H) of the 2015 Permit. The SWPPP also fails to identify and implement advanced
 23
      BMPs that are not being implemented at the West Valley Plant because they do not
 24
      reflect best industry practice considering BAT/BCT. According to information
 25
      available to Waterkeeper, the West Valley Plant’s SWPPP has not been evaluated to
 26
      ensure its effectiveness and revised where necessary to further reduce pollutant
 27
      COMPLAINT
 28                                              43
 29
 30
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  1   discharges. Plaintiff is informed and believes, and thereupon alleges, that the SWPPP
  2   does not include each of the mandatory elements required by the General Permit. The
  3   SWPPP for the West Valley Plant fails to comply with the requirements of Section
  4   X(D)(1)(c) of the 2015 Permit by failing to include detailed information about
  5   procedures to identify alternate team members to implement the SWPPP and conduct
  6   required monitoring when the regularly assigned team members are temporarily
  7   unavailable. The SWPPP for the West Valley Plant fails to comply with the
  8   requirements of Section X(D)(2)(4) of the 2015 Permit by failing to document the
  9
      West Valley Plant’s scheduled operating hours. LAW alleges that the SWPPP for the
 10
      West Valley Plant contains an insufficient pollutant source assessment in that it fails
 11
      to identify COD, iron, aluminum, copper, and lead as industrial pollutants.
 12
            173. Information available to Waterkeeper indicates that as a result of these
 13
      practices, storm water containing excessive pollutants is being discharged from the
 14
      West Valley Plant during rain events into channels that empty into Bull Creek, which
 15
      flows into Reach 5 of the Los Angeles River, which flows into Reach 4 of the Los
 16
      Angeles River, which flows into Reach 3 of the Los Angeles River, which flows into
 17
      Reach 2 of the Los Angeles River, which flows into Reach 1 of the Los Angeles River
 18
      and ultimately flows to the Pacific Ocean via the Los Angeles River Estuary and San
 19
      Pedro Bay.
 20
            174.    Plaintiff is informed and believes, and thereupon alleges, that Defendant
 21
 22
      has failed and continues to fail to alter the West Valley Plant’s SWPPP and site-

 23   specific BMPs consistent with the General Permit.

 24         175. Information available to Plaintiff indicates that Defendant has not
 25   fulfilled the requirements set forth in the General Permit for discharges from the West
 26   Valley Plant due to the continued discharge of contaminated storm water. Plaintiff is
 27   informed and believes, and thereupon alleges, that all of the violations alleged in this
      COMPLAINT
 28                                               44
 29
 30
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  1   Complaint are ongoing and continuous.
  2
      VI.   CLAIMS FOR RELIEF
  3
                                 FIRST CAUSE OF ACTION
  4
                         Failure to Implement the Best Available and
  5                       Best Conventional Treatment Technologies
  6         (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)

  7         176. Plaintiff re-alleges and incorporates all of the preceding paragraphs as if
  8   fully set forth herein.
  9         177. The General Permit’s SWPPP requirements and Effluent Limitation B(3)
 10   of the 1997 Permit and Effluent Limitation V(A) of the 2015 Permit require
 11   dischargers to reduce or prevent pollutants in their storm water discharges through
 12   implementation of BAT for toxic and nonconventional pollutants and BCT for
 13   conventional pollutants. Defendant has failed to implement BAT and BCT at the Los
 14   Angeles Plant for their discharges of COD, iron, aluminum, zinc, copper, lead, and
 15
      other potentially un-monitored pollutants in violation of Effluent Limitation B(3) of
 16
      the 1997 Permit and Effluent Limitation V(A) of the 2015 Permit.
 17
            178.    Defendant has failed to implement BAT and BCT at the East
 18
      Washington Plant for their discharges of copper, zinc, COD, iron, aluminum, TSS,
 19
      and other potentially un-monitored pollutants in violation of Effluent Limitation B(3)
 20
      of the 1997 Permit and Effluent Limitation V(A) of the 2015 Permit.
 21
            179. Defendant has failed to implement BAT and BCT at the West
 22
      Washington Plant for their discharges of pH, O&G, copper, zinc, COD, iron,
 23
      aluminum, and other potentially un-monitored pollutants in violation of Effluent
 24
      Limitation B(3) of the 1997 Permit and Effluent Limitation V(A) of the 2015 Permit.
 25
            180. Defendant has failed to implement BAT and BCT at the West Valley
 26
      Plant for their discharges of TSS, COD, iron, aluminum, zinc, copper, and other
 27
      COMPLAINT
 28                                             45
 29
 30
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  1   potentially un-monitored pollutants in violation of Effluent Limitation B(3) of the
  2   1997 Permit and Effluent Limitation V(A) of the 2015 Permit.
  3         181. Each day since June 11, 2012, that Defendant has failed to develop and
  4   implement BAT and BCT in violation of the General Permit is a separate and distinct
  5   violation of the General Permit and Section 301(a) of the Act, 33 U.S.C. § 1311(a).
  6         182. Defendant has been in violation of the BAT/BCT requirements every day
  7   since June 11, 2012. Defendant continues to be in violation of the BAT/BCT
  8   requirements each day that they fail to develop and fully implement BAT/BCT at the
  9
      Los Angeles Plant, East Washington Plant, West Washington Plant, and the West
 10
      Valley Plant.
 11
                                  SECOND CAUSE OF ACTION
 12                          Discharges of Contaminated Storm Water
 13
                           in Violation of Permit Conditions and the Act
                              (Violations of 33 U.S.C. §§ 1311, 1342)
 14
            183. Plaintiff re-alleges and incorporates all of the preceding paragraphs as if
 15
      fully set forth herein.
 16
 17
            184. Discharge Prohibition A(2) of the 1997 Permit and Discharge Prohibition

 18   III(C) of the 2015 Permit prohibit storm water discharges and authorized non-storm

 19   water discharges that cause or threaten to cause pollution, contamination, or nuisance.
 20   Receiving Water Limitation C(1) of the 1997 Permit and Receiving Water Limitation
 21   VI(B) of the 2015 Permit prohibit storm water discharges to any surface or ground
 22   water that adversely impact human health or the environment. Receiving Water
 23   Limitation C(2) of the 1997 Permit and Receiving Water Limitation VI(A) and
 24   Discharge Prohibition III(D) of the 2015 Permit prohibit storm water discharges that
 25   cause or contribute to an exceedance of any applicable water quality standards
 26   contained in Statewide Water Quality Control Plan or the applicable Regional Board’s
 27   Basin Plan.
      COMPLAINT
 28                                             46
 29
 30
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  1         185. Plaintiff is informed and believes, and thereupon alleges, that since at least
  2   October 11, 2012, Defendant has been discharging polluted storm water from the Los
  3   Angeles Plant in excess of the applicable water quality standards for zinc and copper
  4   in violation of Receiving Water Limitation C(2) of the 1997 Permit and Receiving
  5   Water Limitation VI(A) and Discharge Prohibition III(D) of the 2015 Permit.
  6         186.   Plaintiff is informed and believes, and thereupon alleges, that since at
  7   least May 14, 2015, Defendant has been discharging polluted storm water from the East
  8   Washington Plant in excess of the applicable water quality standards for zinc and
  9
      copper in violation of Receiving Water Limitation C(2) of the 1997 Permit and
 10
      Receiving Water Limitation VI(A) and Discharge Prohibition III(D) of the 2015
 11
      Permit.
 12
            187.   Plaintiff is informed and believes, and thereupon alleges, that since at
 13
      least January 26, 2015, Defendant has been discharging polluted storm water from the
 14
      West Washington Plant in excess of the applicable water quality standards for pH,
 15
      aluminum, zinc, and copper in violation of Receiving Water Limitation C(2) of the
 16
      1997 Permit and Receiving Water Limitation VI(A) and Discharge Prohibition III(D)
 17
      of the 2015 Permit.
 18
            188. Plaintiff is informed and believes, and thereupon alleges, that since at least
 19
      October 11, 2012, Defendant has been discharging polluted storm water from the West
 20
      Valley Plant in excess of the applicable water quality standards for aluminum, zinc,
 21
 22
      and copper in violation of Receiving Water Limitation C(2) of the 1997 Permit and

 23   Receiving Water Limitation VI(A) and Discharge Prohibition III(D) of the 2015

 24   Permit
 25         189. During every rain event, storm water flows freely over exposed materials,
 26   waste products, and other accumulated pollutants at the Los Angeles Plant, East
 27   Washington Plant, West Washington Plant, and the West Valley Plant, becoming
      COMPLAINT
 28                                              47
 29
 30
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  1   contaminated with pH, COD, aluminum, zinc, copper, and other potentially un-
  2   monitored pollutants at levels above applicable water quality standards. The storm
  3   water from the Los Angeles Plant, East Washington Plant, and the West Washington
  4   Plant flows untreated into channels that empty into Reach 2 of the Los Angeles River,
  5   which flows into Reach 1 of the Los Angeles River and ultimately flows to the Pacific
  6   Ocean via the Los Angeles River Estuary and San Pedro Bay. The storm water from
  7   the West Valley Plant then flows into channels that empty into Bull Creek, which
  8   flows into Reach 5 of the Los Angeles River, which flows into Reach 4 of the Los
  9
      Angeles River, which flows into Reach 3 of the Los Angeles River, which flows into
 10
      Reach 2 of the Los Angeles River, which flows into Reach 1 of the Los Angeles River
 11
      and ultimately flows to the Pacific Ocean via the Los Angeles River Estuary and San
 12
      Pedro Bay.
 13
            190. Plaintiff is informed and believes, and thereupon alleges, that these
 14
      discharges of contaminated storm water are causing or contributing to the violation of
 15
      the applicable water quality standards in a Statewide Water Quality Control Plan and/or
 16
      the applicable Regional Board’s Basin Plan in violation of Receiving Water Limitation
 17
      C(2) of the General Permit.
 18
            191. Plaintiff is informed and believes, and thereupon alleges, that these
 19
      discharges of contaminated storm water are adversely affecting human health and the
 20
      environment in violation of Receiving Water Limitation C(1) of the General Permit.
 21
 22
            192. Every day since at least June 11, 2012, that Defendant has discharged and

 23   continue to discharge polluted storm water from the Los Angeles Plant, East

 24   Washington Plant, West Washington Plant, and the West Valley Plant, respectively, in
 25   violation of the General Permit is a separate and distinct violation of Section 301(a) of
 26   the Act, 33 U.S.C. § 1311(a). These violations are ongoing and continuous.
 27
      COMPLAINT
 28                                               48
 29
 30
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  1
                                THIRD CAUSE OF ACTION
                     Failure to Prepare, Implement, Review, and Update
  2                  an Adequate Storm Water Pollution Prevention Plan
  3         (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
  4         193. Plaintiff re-alleges and incorporates all of the preceding paragraphs as if
  5   fully set forth herein.
  6         194. The General Permit requires dischargers of storm water associated with
  7   industrial activity to develop and implement an adequate SWPPP no later than
  8   October 1, 1992.
  9         195. Defendant has failed to develop and implement an adequate SWPPP for
 10   the Los Angeles Plant, East Washington Plant, West Washington Plant, and the West
 11
      Valley Plant, respectively. Defendant’s ongoing failure to develop and implement
 12
      adequate SWPPPs for the Los Angeles Plant, East Washington Plant, West Washington
 13
      Plant, and the West Valley Plant is evidenced by, inter alia, Defendant’s failure to
 14
      justify each minimum and advanced BMP not being implemented.
 15
            196. Defendant has failed to update the SWPPPs for the Los Angeles Plant,
 16
      East Washington Plant, West Washington Plant, and the West Valley Plant in response
 17
      to the analytical results of the facilities’ storm water monitoring.
 18
            197. Each day since June 11, 2012, that Defendant has failed to develop,
 19
      implement and update an adequate SWPPP for the Los Angeles Plant, East Washington
 20
      Plant, West Washington Plant, and the West Valley Plant, respectively, is a separate
 21
      and distinct violation of the General Permit and Section 301(a) of the Act, 33 U.S.C. §
 22
      1311(a).
 23
 24
            198. Defendant has been in violation of the SWPPP requirements every day

 25   since June 11, 2012. Defendant continues to be in violation of the SWPPP

 26   requirements each day that it fails to develop and fully implement an adequate SWPPP
 27   for the Los Angeles Plant, East Washington Plant, West Washington Plant, and the
      COMPLAINT
 28                                               49
 29
 30
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  1   West Valley Plant, respectively.
  2
                               FOURTH CAUSE OF ACTION
  3                          Failure to Develop and Implement an
                         Adequate Monitoring and Reporting Program
  4
             (Violation of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
  5
            199. Plaintiff re-alleges and incorporates all of the preceding paragraphs as if
  6
      fully set forth herein.
  7
            200. The General Permit requires dischargers of storm water associated with
  8
      industrial activity to have developed and be implementing a monitoring and reporting
  9
 10
      program (including, inter alia, sampling and analysis of discharges) no later than

 11   October 1, 1992.

 12         201. Defendant has failed to develop and implement an adequate monitoring
 13   and reporting program for the Los Angeles Plant, East Washington Plant, West
 14   Washington Plant, and the West Valley Plant, respectively.
 15         202. Defendant’s ongoing failure to develop and implement an adequate
 16   monitoring and reporting program are evidenced by, inter alia, its failure to analyze
 17   storm water discharges at the facilities for numerous parameters including COD, iron,
 18   aluminum, and lead.
 19         203. Each day since at least June 11, 2012, that Defendant has failed to
 20   develop and implement an adequate monitoring and reporting program for the Los
 21   Angeles Plant, East Washington Plant, West Washington Plant, and the West Valley
 22   Plant, respectively, in violation of the General Permit is a separate and distinct
 23   violation of the General Permit and Section 301(a) of the Act, 33 U.S.C. § 1311(a).
 24   The absence of requisite monitoring and analytical results are ongoing and continuous
 25
      violations of the Act.
 26
 27
      COMPLAINT
 28                                               50
 29
 30
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  1
      VII. RELIEF REQUESTED

  2
                Wherefore, Plaintiff respectfully requests that this Court grant the following
  3
      relief:
  4
                      a. Declare Defendant to have violated and to be in violation of the Act as
  5
      alleged herein;
  6
                      b. Enjoin Defendant from discharging polluted storm water from the Los
  7
      Angeles Plant, East Washington Plant, West Washington Plant, and the West Valley
  8
      Plant, respectively, unless authorized by the 2015 Permit;
  9
                      c. Enjoin Defendant from further violating the substantive and procedural
 10
      requirements of the 2015 Permit;
 11
 12
                      d. Order Defendant to immediately implement storm water pollution

 13   control and treatment technologies and measures that are equivalent to BAT or BCT;

 14                   e. Order Defendant to immediately implement storm water pollution

 15   control and treatment technologies and measures that prevent pollutants in the Los
 16   Angeles Plant’s, East Washington Plant’s, West Washington Plant’s, and the West
 17   Valley Plant’s storm water from contributing to violations of any water quality
 18   standards;
 19                   f. Order Defendant to comply with the Permit’s monitoring and reporting
 20   requirements, including ordering supplemental monitoring to compensate for past
 21   monitoring violations;
 22                   g. Order Defendant to prepare SWPPPs for the Los Angeles Plant, East
 23   Washington Plant, West Washington Plant, and the West Valley Plant consistent with
 24   the Permit’s requirements and implement procedures to regularly review and update the
 25   SWPPP;
 26                   h. Order Defendant to provide Plaintiff with reports documenting the
 27
      COMPLAINT
 28                                                  51
 29
 30
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  1   quality and quantity of their discharges to waters of the United States and their efforts
  2   to comply with the Act and the Court’s orders;
  3                  i. Order Defendant to pay civil penalties of up to $37,500 per day per
  4   violation for each violation of the Act since October 28, 2011, up to and including
  5   November 2, 2015, and up to $52,414 for violations occurring after November 2, 2015,
  6   pursuant to Sections 309(d) and 505(a) of the Act, 33 U.S.C. §§ 1319(d), 1365(a) and
  7   40 C.F.R. §§ 19.1 - 19.4;
  8                  j. Order Defendant to take appropriate actions to restore the quality of
  9
      waters impaired or adversely affected by their activities;
 10
                     k. Award Plaintiff’s costs (including reasonable investigative, attorney,
 11
      witness, compliance oversight, and consultant fees) as authorized by the Act, 33 U.S.C.
 12
      § 1365(d); and,
 13
                     l. Award any such other and further relief as this Court may deem
 14
      appropriate.
 15
 16   Dated: August 10, 2017                   Respectfully submitted,
 17
 18
                                        By:    __/s/ Douglas J. Chermak______________
 19                                            Douglas J. Chermak
 20                                            LOZEAU DRURY LLP
                                               Attorneys for Los Angeles Waterkeeper
 21
 22
 23
 24
 25
 26
 27
      COMPLAINT
 28                                                52
 29
 30
